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          14                                  UNITED STATES DISTRICT COURT

          15                               NORTHERN DISTRICT OF CALIFORNIA

          16                                             OAKLAND DIVISION
                 EPIC GAMES, INC.,
          17                                                   CASE NO. 4:20-cv05640-YGR-TSH
                             Plaintiffs, Counter-defendant
          18         v.
                 APPLE INC.,
          19
                             Defendant, Counterclaimant
          20     IN RE APPLE IPHONE ANTITRUST
                 LITIGATION                                   CASE NO. 4:11-cv-06714-YGR
          21     ______________________________________
                 DONALD R. CAMERON, et al.,
          22                                                  CASE NO. 4:19-cv-03074-YGR
                              Plaintiffs,
          23         v.                                       DECLARATION OF JAY P. SRINIVASAN
                                                              IN SUPPORT OF ADMINISTRATIVE
          24     APPLE INC.,                                  MOTION TO FILE UNDER SEAL THE
                              Defendant                       JOINT DISCOVERY LETTER BRIEF AND
          25                                                  SUPPORTING EXHIBITS REGARDING
                                                              CUSTODIANS
          26
                                                              Hon. Yvonne Gonzalez Rogers
          27
                                                              Hon. Thomas S. Hixson
          28
Gibson, Dunn &
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                 DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION TO PARTIALLY FILE
                      UNDER SEAL; CASE NOS. 4:20-CV05640-YGR-TSH, 4:11-CV-06714-YGR, 4:19-CV-03074-YGR
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            1             Pursuant to Civil Local Rule 79-5, I hereby declare as follows:
            2             1.        I am an attorney licensed to practice in the State of California, and a member of the
            3    Bar of this Court.       I am a partner at the law firm Gibson, Dunn & Crutcher LLP, counsel of record
            4    for Defendant Apple Inc. (“Apple”) in this case.               I am familiar with Apple’s treatment of highly
            5    proprietary and confidential information, based on my personal experience representing Apple. 1                            I
            6    have personal knowledge of the facts stated below and, if called as a witness, I could and would
            7    testify competently thereto.         I submit this declaration in support of Plaintiffs’ Joint Discovery Letter
            8    Brief and Supporting Exhibits Regarding Additional Apple Custodians (“Joint Discovery Letter
            9    Brief”).
          10              2.        The request for relief is narrowly tailored and necessary to the confidentiality of
          11     information in certain documents described below.
          12              3.        In determining whether to permit documents to be filed under seal, courts in the Ninth
          13     Circuit apply two separate standards: (1) the “compelling reason” test for sealing information in
          14     connection with motions for a determination on the merits of a claim or defense; and (2) the less-
          15     restrictive “good cause” test for sealing information in connection with non-dispositive filings.
          16     Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006); Center for Auto
          17     Safety v. Chrysler Grp., LLC, 809 F.3d 1092 (9th Cir. 2016).                   Here, the less-restrictive good cause
          18     test applies, because the underlying dispute is non-dispositive.
          19              4.        Apple operates in an intensely competitive marketplace.                  It occupies a unique
          20     position as a leader with respect to a number of highly dynamic technologies.                      Apple has serious and
          21     legitimate concerns that competitors will be quick to pounce on any release of Apple’s highly
          22     sensitive, proprietary information in order to gain competitive advantage.                    At the same time, Apple
          23     must guard against nefarious actors on the lookout for information that might help them hack into
          24     Apple systems, whether to steal proprietary information and then sell it or in order to disrupt Apple’s
          25      1
                      Courts in this District routinely grant motions to seal on the basis of declarations of counsel submitted pursuant to
          26          Local Rule 79-5. See, e.g., In Re Qualcomm Litig., No. 17-00108, Dkt. 398-1 (S.D. Cal. Mar. 3, 2018); Avago
                      Techs. U.S. Inc., et al. v. Iptronics Inc., et al., No. 10-02863-EJD, Dkt. 544 (N.D. Cal. Apr. 3, 2015); Cisco Sys., Inc.,
                      et al. v. Opentv Inc., et al., No. 13-00282-EJD, Dkt. 76 (N.D. Cal. Oct. 8, 2018). I am personally familiar with
          27
                      Apple’s safeguarding of proprietary information, but if the Court deems this declaration insufficient, Apple
                      respectfully requests that it be permitted to file a further declaration supporting filing under seal.
          28
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                 DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION TO PARTIALLY FILE
                      UNDER SEAL; CASE NOS. 4:20-CV05640-YGR-TSH, 4:11-CV-06714-YGR, 4:19-CV-03074-YGR
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            1    provision of products and services. As such, Apple takes extensive measures to protect the
            2    confidentiality of its proprietary information.
            3           5.      Here, Apple seeks to seal the following portions of the exhibits supporting the Joint
            4    Administrative Motion which contain, reflect, or discuss highly-sensitive, non-public information, the
            5    exposure of which would critically harm Apple:
            6                1) The Joint Discovery Letter Brief, pp.3-5, which references correspondence regarding
            7                   sensitive business decisions regarding app review, device security, and the protection
            8                   of consumer privacy.
            9                2) Exhibit 1, pp.6-8, which provides nonpublic information regarding the organizational
          10                    structure of certain key Apple teams and the direct reports of certain designated
          11                    custodians;
          12                 3) Exhibit 4, p.2, which contains information about accessing a nonpublic database that
          13                    Apple uses to transfer its produced documents to Plaintiffs;
          14                 4) Exhibit 6, pp.4, 6-10, which quotes or provides detailed information regarding Apple’s
          15                    sensitive business information.
          16            6.      The Court has “broad latitude” “to prevent disclosure of materials for many types of
          17     information, including, but not limited to, trade secrets or other confidential research, development, or
          18     commercial information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002)
          19     (emphasis in original)
          20            7.      Specifically, Apple seeks to seal portions of the above exhibits that reflect highly
          21     confidential information regarding Apple’s business organization, information about accessing a
          22     nonpublic database for the transfer of highly confidential documents relevant to the litigations, and
          23     documents discussing sensitive business information. The public disclosure of such information
          24     would cause Apple economic harm and put it at competitive disadvantage.        See Ctr. for Auto Safety
          25     v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016), cert. denied sub nom. FCA U.S. LLC v.
          26     Ctr. for Auto Safety, 137 S. Ct. 38 (2016) (finding there was a compelling reason for sealing when
          27     records contain business information that could be used to harm a litigant’s competitive standing).
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                 DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION TO PARTIALLY FILE
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            1           8.        In addition to the competitive harms posed by public availability of these documents,
            2    public disclosure of this information would risk providing assistance to competitors and third parties
            3    seeking to unlawfully access or steal data. Apple takes many steps, and undertakes substantial
            4    efforts, to safeguard information—including its trade secrets and data of its customers and developers
            5    who use Apple’s technology—and keeping those efforts confidential is important to their
            6    effectiveness.
            7           9.        The information Apple seeks to protect is foundational to its business, and Apple has
            8    exerted great effort and undertaken substantial expense to protect such information.    Apple has
            9    narrowly tailored its sealing request so as to maximize the public’s access to court records without
          10     jeopardizing Apple’s business interests. Below is a chart detailing the specific items that are
          11     sealable for the reasons explained herein. Apple is also lodging with the Court versions of Exhibits
          12     1, 4, 6 that indicate (but do not apply) the proposed redactions.
          13
                  Document to be Sealed           Page          Sensitive                          Notes
          14
                                               Number of   Information to be
          15                                      PDF           Redacted
                  Joint Discovery Letter         pp.3-5  Contains information        In these proposed redactions,
          16      Brief                                  that reveals                Apple seeks to seal only particular
                                                         correspondence              portions of the Joint Discovery
          17                                             regarding sensitive         Letter Brief that reveal sensitive
                                                         business decisions          information business and security
          18
                                                         regarding app               information.
          19                                             review, device
                                                         security, and the           Disclosure of this information
          20                                             protection of               proposed for sealing would
                                                         consumer privacy.           provide the public and
          21                                                                         competitors access to the highly
          22                                                                         confidential information regarding
                                                                                     Apple’s business decisions
          23                                                                         regarding app review, device
                                                                                     security, and the protection of
          24                                                                         consumer privacy. Disclosure of
                                                                                     this information would be harmful
          25                                                                         to Apple. It would, for example,
          26                                                                         provide Apple’s competitors and
                                                                                     potential bad actors with private
          27                                                                         information about Apple’s
                                                                                     processes and policies. This
          28
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                 DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION TO PARTIALLY FILE
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                 Document to be Sealed     Page           Sensitive                         Notes
            1
                                         Number of    Information to be
            2                              PDF            Redacted
                                                                              information could be used to try to
            3                                                                 gain competitive advantage.
                 Exhibit 1                 pp.6-8    Contains information     In these proposed redactions,
            4                                        that reveals the         Apple seeks to seal only particular
            5                                        structure of certain     portions of Exhibit 1 that reveal
                                                     Apple organizations      sensitive information of the direct
            6                                        and provides the         reports to certain designated
                                                     names of some non-       custodians.
            7                                        custodial individuals
                                                     that report to certain   Disclosure of this information
            8                                        custodians.              proposed for redaction, and thus
            9                                                                 the decisions that Apple makes
                                                                              regarding its organizational
          10                                                                  structure of certain groups
                                                                              operating at Apple, would provide
          11                                                                  insight into Apple’s internal
                                                                              business strategy. Disclosure of
          12                                                                  this information would be harmful
          13                                                                  to Apple. It would, for example,
                                                                              provide Apple’s competitors and
          14                                                                  potential bad actors with private
                                                                              information about Apple’s
          15                                                                  processes and procedures with
                                                                              respect to the organization of
          16
                                                                              certain key teams. This
          17                                                                  information could be used in
                                                                              attempts to gain competitive
          18                                                                  advantage or to map the internal
                                                                              structure of Apple’s business
          19                                                                  organization for unlawful
                                                                              purposes.
          20
                 Exhibit 4                  p.2      Contains information     In these proposed redactions,
          21                                         about accessing a        Apple seeks to seal only particular
                                                     nonpublic database       portions of Exhibit 4 that reveal
          22                                         that Apple uses to       information about data security
                                                     transfer its produced    measures and nonpublic database
          23                                         documents to             about accessing a nonpublic
                                                     Plaintiffs.              database that Apple uses to
          24
                                                                              transfer its produced documents to
          25                                                                  Plaintiffs in these litigations.

          26                                                                  Disclosure of this information
                                                                              proposed for sealing would
          27                                                                  provide the public and
                                                                              competitors access to the highly
          28
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                 Document to be Sealed     Page            Sensitive                        Notes
            1
                                         Number of     Information to be
            2                              PDF             Redacted
                                                                              confidential information Apple
            3                                                                 has produced to Plaintiffs in the
                                                                              litigation. Disclosure of this
            4                                                                 information would be harmful to
                                                                              Apple. It would, for example,
            5
                                                                              provide Apple’s competitors and
            6                                                                 potential bad actors with private
                                                                              information about Apple’s
            7                                                                 processes and procedures with
                                                                              respect to data used in the course
            8                                                                 of its business. This information
            9                                                                 could be used to try to gain
                                                                              competitive advantage or to
          10                                                                  access Apple’s computer systems
                                                                              for unlawful purposes.
          11     Exhibit 6               pp.4, 6-10   Contains information In these proposed redactions,
                                                      that reveals the        Apple seeks to seal only particular
          12                                          details of confidential portions of Exhibit 6 that reveal
          13                                          documents Apple         the details of confidential
                                                      produced regarding      documents Apple produced
          14                                          Apple’s revenue         regarding Apple’s revenue model,
                                                      model, decisions        decisions related to the
          15                                          related to the          development of certain Apple
                                                      development of          systems, correspondence among
          16
                                                      certain Apple           Apple executives regarding the
          17                                          systems,                creation of the Mac App Store,
                                                      correspondence          information on Apple’s
          18                                          among Apple             competitors, information
                                                      executives regarding regarding Apple’s app review
          19                                          the creation of the     process, and information
                                                      Mac App Store,          regarding Apple’s pricing
          20
                                                      information on          strategies. General descriptions
          21                                          Apple’s competitors, of the documents within the body
                                                      information             of the correspondence are not
          22                                          regarding Apple’s       redacted.
                                                      app review process,
          23                                          and information         Disclosure of this information
                                                      regarding Apple’s       proposed for redaction, and thus
          24
                                                      pricing strategies.     the decisions that Apple makes
          25                                                                  regarding its business operations
                                                                              and revenue models, among other
          26                                                                  information, would provide
                                                                              insight into Apple’s internal
          27                                                                  business strategy. Disclosure of
          28                                                                  this information would be harmful
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Crutcher LLP
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                 DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION TO PARTIALLY FILE
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                  Document to be Sealed        Page              Sensitive                         Notes
            1
                                             Number of       Information to be
            2                                  PDF               Redacted
                                                                                    to Apple. It would, for example,
            3                                                                       provide Apple’s competitors with
                                                                                    private information about Apple’s
            4                                                                       processes and procedures for
                                                                                    implementing particular
            5
                                                                                    strategies. This information
            6                                                                       could be used in attempts to gain
                                                                                    competitive advantage.
            7

            8
                        I declare under penalty of perjury under the laws of the United States that the foregoing is true
            9
                 and correct and that this Declaration was executed on December 11, 2020, at Los Angeles, California.
          10

          11
                 DATED:     December 11, 2020                 GIBSON, DUNN & CRUTCHER LLP
          12

          13                                                  By:             /s/ Jay P. Srinivasan
                                                                             Jay P. Srinivasan
          14
                                                              Attorney for Defendant Apple Inc.
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                 DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION TO PARTIALLY FILE
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            1                                     CERTIFICATE OF SERVICE
            2          I, Jay P. Srinivasan, hereby certify that on December 11, 2020, I caused the foregoing
            3    DECLARATION OF JAY P. SRINIVASAN IN SUPPORT OF ADMINISTRATIVE MOTION
            4    TO FILE UNDER SEAL THE JOINT DISCOVERY LETTER BRIEF AND SUPPORTING
            5    EXHIBITS REGARDING CUSTODIANS to be filed electronically through the CM/ECF system
            6

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